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    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                           MARYLAND


MARYLAND SHALL ISSUE, INC., et al.,                  *
                                                     *
       Plaintiffs                                    *
                                                     *      Consolidated Case Nos.:
       v.                                            *      8:21-cv-01736-TDC (lead)
                                                     *      8:22-cv-01967-DLB
MONTGOMERY COUNTY, MARYLAND                          *
                                                     *
       Defendant                                     *


DEFENDANT’S OPPOSITION TO PLAINTIFFS’ EMERGENCY MOTION FOR
 TEMPORARY RESTRAINING ORDER AND EMERGENCY MOTION FOR A
                 PRELIMINARY INJUNCTION


       Defendant Montgomery County, Maryland, (“the County”) by and through its

undersigned counsel, respectfully requests that this Court deny Plaintiff’s Emergency

Motion for a Temporary Restraining Order and Emergency Motion for a Preliminary

Injunction because, as set forth in the Memorandum filed herewith, Plaintiffs lack

standing, and all places of public assembly identified in the County’s law are

constitutional. The Plaintiffs’ Motion should be denied.


                                             Respectfully submitted,

                                             JOHN P. MARKOVS
                                             COUNTY ATTORNEY


                                                    /s/
                                             Edward B. Lattner, Chief
                                             Division of Government Operations
                                             edward.lattner@montgomerycountymd.gov
                                             Bar No. 03871
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                                                      /s/
                                              Erin J. Ashbarry
                                              Associate County Attorney
                                              erin.ashbarry@montgomerycountymd.gov
                                              Bar No. 26298

                                                     /s/
                                              Matthew H. Johnson
                                              Associate County Attorney
                                              matthew.johnson3@montgomerycountymd.
                                              gov
                                              Bar No. 17678

                                              Attorneys for Defendant Montgomery
                                              County, Maryland
                                              101 Monroe Street, Third Floor
                                              Rockville, Maryland 20850-2540
                                              (240) 777-6700
                                              (240) 777-6705 Fax



                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 30, 2022, a copy of the foregoing
Opposition, the accompanying Memorandum, all exhibits, and the Proposed Order were
served on all parties or their counsel of record through the CM/ECF system if they are
registered users or, if they are not, by serving a true and correct copy at the address(es)
listed below:


                       Mark W. Pennak
                       Maryland Shall Issue, Inc.
                       9613 Harford Rd., Ste C #1015
                       Baltimore, Maryland 21234-21502
                       mpennak@marylandshallissue.org


                                                              /s/
                                                      Erin J. Ashbarry




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